            Case: 4:21-cv-01405-JAR Doc. #: 10 Filed: 03/17/22 Page: 1 of 2 PageID #: 30

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  MAR 1 7 7-0'l.'l.                  UNITED STATES DISTRICT COURT
        \SiR\Ci coURT                EASTERN DISTRICT OF MISSOURI
  U;,&t& OISiRICi Of MO
Et>.S   Si. LOUIS                          EASTERN DISTRICT




       INI WATSON,
          Claimant,           No .4:21-CV-1405-JAR

       V.

       MARRIOTT INTERNATIONAL INC et al. ,
         Defendants.

                               CLAIMANT'S PETITION TO FILE OUT OF TIME
                          AMENDED COMPLAINT FOR FAILURE TO ACCOMMODATE

       Claimant request of this Court to file out of time a complaint for failure to accommodate due to a
       delay in delivery by US Postal Services.

       Respectfully,




       lni Watson
  Case: 4:21-cv-01405-JAR Doc. #: 10 Filed: 03/17/22 Page: 2 of 2 PageID #: 31



                                                    Certificate of Service




This is to certify that a true copy of Claimant's Petition to File Out of Time was forwarded by
certified mail on this ~       day of March 2022 to the following:

Margaret D. Gentzen, Esq.
Fox Smith, LLC
One S. Memorial Drive, 12th Floor
St. Louis, MO 63102

EQH SERVICE COMPANY LLC. (contractor with MARRIOTT INTERNATIONAL INC.)
10400 Femwood Road
Bethesda, MD 20817

Respectfully Submitted,


  J__
lni Watson             &---............


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                    ALEXIS MARIE MITCHELL
                    Notary Public - Notary Seal
                         State of Missouri
                commissioned for St. Louis County
               My Commission Expires: January 24, 2025
                  commission Number: 211 44209
               - ----·-·· ·--
